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      UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MARYLAND
                            (Southern Division)

DAVID TIMBERS,                                     *

        Plaintiff(s),                              *

v.                                                 *

TELLIGENT MASONRY, LLC, et al.,                    *      Civil Action No.: 8:21-CV-00293-PX

        Defendant(s),                              *

                                                   *

*       *        *      *    *      *   *     *    *   *                 *         *   *     *
                                    ENTRY OF APPEARANCE

TO THE CLERK OF THE COURT:

        Please enter the appearance of Alana R. Glover of Goldberg Segalla LLP, 111 S. Calvert

Street, Suite 2000, Baltimore, MD 21202, as co-counsel on behalf of Defendant, Tia Taylor. John

Archibald and Imoh E. Akpan will remain as counsel for Defendant, Tia Taylor.


                                            Respectfully submitted,


                                                    /s/Alana R. Glover
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                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 5th day of May 2022, a copy of the foregoing Entry of

Appearance of Counsel, was electronically filed via the courts CM/ECF filing system and served

on the following:

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                                                      /s/Alana R. Glover
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